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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Harrisonburg Division

 O’SULLIVAN FILMS, INC.                               )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )       Civil Action No. 5:17-cv- 00031
                                                      )
 DAVID NEAVES                                         )
                                                      )
                                                      )
                        Defendant.                    )

                        PLAINTIFF’S FIRST AMENDED COMPLAINT

        COMES NOW the Plaintiff, O’Sullivan Films, Inc. (“O’Sullivan”), by counsel, and for

 its Amended Complaint states as follows:

                                        INTRODUCTION

        1.       By this action, O’Sullivan seeks equitable and legal remedies for David Neaves

 (“Neaves”) breach of the Confidential Information, Invention, and Non-Solicitation Agreement

 (the “Agreement”), which contains post-employment restrictive covenants, and for declaratory

 relief in accordance with Virginia Code § 8.01-184 and 28 U.S.C. § 2201(a), that Neaves signed

 when employed by O’Sullivan.

                                             PARTIES

        2.       O’Sullivan is a Delaware corporation having its principle place of business within

 the City of Winchester, Virginia. O’Sullivan manufactures plastic film products, including

 artificial leather, at its Winchester plant where Neaves used to work.

        3.       Neaves formerly resided in Frederick County, Virginia, but now lives and works

 in Wisconsin.
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                                   JURISDICTION AND VENUE

          4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 and 28 U.S.C. §

 2201(a). Venue is proper in this Court pursuant to 29 U.S.C. § 1391(b)(2).

                                    FACTUAL ALLEGATIONS

         5.      O’Sullivan employed Neaves as its New Product Development Chemist for

 O’Sullivan’s Artificial Leather Plant in Winchester, Virginia from June, 2013 until December,

 2016. O’Sullivan markets its artificial leather products to the automotive industry for the

 fabrication of automobile interior parts and seating. It also markets those products to the

 hospitality and restaurant industries, referred to by O’Sullivan as “the fashion industry.”

         6.      As a condition of his employment with O’Sullivan, Neaves entered into the

 Agreement with O’Sullivan on June 17, 2013. A true and accurate copy of the Agreement is

 attached to this Complaint as Exhibit 1.

         7.      To perform his duties and responsibilities as O’Sullivan’s New Product

 Development Chemist, Neaves assisted in the development of O’Sullivan’s competitive artificial

 leather products, and received extensive and unique training with O’Sullivan’s parent company

 specifically on the formulation of artificial leather.

         8.      Neaves, as New Product Development Chemist, had responsibility for

 O’Sullivan’s entire artificial leather group, and management responsibility over a number of

 junior artificial leather research and development employees who reported to him.

         9.      Neaves assisted in the development of O’Sullivan’s competitive artificial leather

 products, and worked closely with O’Sullivan’s current and prospective clients, including

 General Motors, Fiat Chrysler Automobiles, Ford, Tesla, and Daimler.




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        10.     Neaves was central to O’Sullivan’s research and development of new artificial

 leather (PVC) products for O’Sullivan’s product lines.

        11.     Neaves, by virtue of his position and his more than three years’ tenure with

 O’Sullivan, had access to O’Sullivan’s confidential chemical formulas for its artificial leather

 products, its processes for creating such products, and the new chemical compounds that it had

 under development to compete in the marketplace.

                                        Neaves’ Sales Role

        12.      In performing his duties as New Product Development Chemist, Neaves

 collaborated with O’Sullivan’s current and prospective clients to develop products that would

 best meet the client’s needs for automotive seating. Neaves participated in discussions with

 O’Sullivan’s current and prospective clients regarding their specific needs with respect to the

 performance of artificial leather products. Neaves assisted O’Sullivan in adapting its current

 products to meet the current or prospective client’s performance requirements. In short, Neaves

 had substantial contact with O’Sullivan’s current and prospective clients, and he worked

 intimately with them to develop new products to meet their needs.

        13.     For example, Neaves met with O’Sullivan client General Motors with respect to

 GM’s specifications for its artificial leather automotive interior product, and Neaves had worked

 to develop a product that would meet those specifications on O’Sullivan’s behalf.

        14.     Neaves also met with Fiat Chrysler Automobiles, Ford, Tesla, and Daimler, and

 those companies’ tier one customers, such as Lear Corporation and Eissman Automotives, who

 are often the actual purchasers of O’Sullivan product on behalf of automotive customers, while

 performing his duties as O’Sullivan’s New Product Development Chemist.




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        15.     In the last two years of his employment with O’Sullivan, Neaves participated in

 the Annual Business Strategy Meeting for O’Sullivan’s Automotive Group, where he had access

 to and participated in O’Sullivan’s identification and development of its annual business

 strategy, including specific customer targets and products under development.

                                            The Agreement

        16.     Pursuant to Paragraph 1 of the Agreement, Neaves acknowledged the following

 definition of Confidential Information. “Confidential Information” is “any kind of information

 that is not known by the general public,” that it includes, but is not limited to, “technical

 information (such as formulas, trade secrets, inventions, and designs); financial information

 (such as projections, forecasts, budgets, and plans); and business and manufacturing information

 (such as plans, strategies, processes, competitive analyses, and lists and information about

 customers, potential customers, vendors and employees). Ex. 1 ¶ 1.

        17.     Pursuant to Paragraph 2 of the Agreement, Neaves acknowledged that the

 business of O’Sullivan means “the development, manufacturing, marketing, and sale of plastic

 engineered films compounds, services related to this market, and other business that O’Sullivan

 engages in during my employment.” Ex. 1, ¶ 2.

        18.     Neaves promised, pursuant to Paragraph 3 of the Agreement, “to keep secret all

 Confidential Information learned by” him or disclosed to him. Neaves further promised, inter

 alia, to keep the Confidential Information from the public, to use his best efforts to protect

 Confidential Information, only to use the Confidential Information for the benefit of O’Sullivan,

 and not to use Confidential Information for his own or anyone else’s benefit. Neaves

 acknowledged that his obligations with respect to Confidential Information continued until

 someone other than Neaves disclosed the information to the public. He acknowledged that his



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 failure to protect Confidential Information would constitute a breach of the Agreement. Ex. 1, ¶

 3.

            19.   Pursuant to Paragraph 4 of the Agreement, Neaves promised when his

 employment with O’Sullivan ended for any reason to “return in good condition all O’Sullivan

 property and Confidential Information …” Ex. 1, ¶ 4.

            20.   Pursuant to Paragraph 6 of the Agreement, Neaves acknowledged that

 O’Sullivan’s Confidential Information and any Derivative Works that Neaves was to create by

 being exposed to the Confidential Information were “very valuable to O’Sullivan.” Ex. 1, ¶ 6.

            21.   Pursuant to Paragraph 8 of the Agreement, Neaves also agreed that for one year

 after his employment with O’Sullivan ends for any reason, he would “not (a) sell, attempt to sell,

 or assist others in selling or providing products or services in competition with the Business of

 O’Sullivan at the Restricted Contacts; or (b) help, financially or otherwise, any person or entity

 to compete with the Business of O’Sullivan by using or contacting the Restricted Contacts.”

 “Restricted Contacts” is defined in the Agreement as “actual and potential customers, agents,

 distributors, vendors, business partners, and persons or entities that, during the two years before

 my employment with O’Sullivan ends, I had direct contact with or that I had indirect contact

 with, including indirect contact by supporting or being responsible for the activities of other

 O’Sullivan employees who had direct contact with the Restricted Accounts.” Ex. 1, ¶ 8.

            22.   Pursuant to Paragraph 10 of the Agreement, Neaves agreed that he would be in

 violation of the Agreement if he were to engage in any of the prohibited activities directly or

 indirectly “as an employee, representative, consultant, [or] agent, … of a business entity[.]” Ex.

 1, ¶ 10.




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         23.    In Paragraph 11 of the Agreement, Neaves agreed that if he was preparing to

 leave or had left his employment with O’Sullivan, that he would “notify any person or entity

 with whom I intend to work of the contents of this Agreement.” Neaves further authorized

 O’Sullivan to provide a copy of the Agreement to any such person or entity. Ex. 1, ¶ 11.

         24.    In Paragraph 12 of the Agreement, Neaves agreed that in addition to any other

 rights and remedies available to O’Sullivan, O’Sullivan may be granted temporary or permanent

 injunctive relief without proof of actual damages. Neaves also agreed that he would be

 responsible for any attorneys’ fees, costs and expenses incurred by O’Sullivan by reason of any

 action relating to the Agreement. Ex. 1, ¶ 12.

         25.    Pursuant to Paragraph 13 of the Agreement, Neaves agreed that if it is determined

 that he violated the Agreement, the obligations under the Agreement shall be automatically

 extended for a period of time equal to the time he is found to have violated the Agreement. Ex. 1,

 ¶ 13.

         26.    The Agreement designates that it shall be governed by and interpreted according

 to the laws of the Commonwealth of Virginia, and that Virginia state or federal courts shall have

 exclusive jurisdiction of any action arising out of the Agreement. Ex. 1, ¶ 19.

                       Neaves’ Departure for Uniroyal, A Direct Competitor

         27.    On December 12, 2016, Neaves resigned his employment with O’Sullivan and in

 so doing, stated that he had accepted a position as Director of Research and Development with

 Uniroyal Global Engineering, Inc. (“Uniroyal”).

         28.    Uniroyal manufactures plastic film products including artificial leather, which is

 manufactured in its plant in Stoughton, Wisconsin. Uniroyal’s corporate headquarters are

 located in Florida.



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        29.     Uniroyal competes with O’Sullivan by manufacturing and marketing vinyl coated

 fabrics, including Naugahyde.® Uniroyal’s revenue is derived approximately 50% from the

 automotive industry and 50% from the recreational, industrial, indoor and outdoor furnishings,

 hospitality and healthcare markets. Uniroyal provides product to many of the same automotive

 manufacturers and their business partners as O’Sullivan. See List of Global OEMs Served,

 Uniroyal Global Engineered Products January 2017, attached as Exhibit 2.

        30.     In conversations with O’Sullivan officials as he was planning his resignation,

 Neaves indicated that he was unaware of the Agreement or the continuing obligations that it

 imposed upon him beyond the end of his employment with O’Sullivan. The day after his

 conversation with O’Sullivan officials, Neaves visited O’Sullivan’s Human Resources office and

 asked for a copy of the Agreement.

        31.     Upon information and belief, when Neaves accepted the Uniroyal employment

 offer, he failed to advise Uniroyal of the existence of the Agreement.

        32.     Shortly after Neaves’ resignation from O’Sullivan, a forensic examination of the

 O’Sullivan laptop used by Neaves during his employment revealed that Neaves had transferred

 certain proprietary O’Sullivan documents to a personal USB drive, a SanDisk U3 Cruzer, serial

 number 0001C9703050048C. Neaves returned no flash drives to O’Sullivan upon his

 resignation.

        33.     Upon information and belief, in his role as Director of Research and Development

 for Uniroyal, Neaves is serving precisely the same customers that he personally served while

 employed with O’Sullivan, using the Confidential Information belonging to O’Sullivan for the

 benefit of a direct competitor.




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        34.     Neaves is selling, attempting to sell, or assisting others in selling or providing

 products and services in competition with the business of O’Sullivan at the Restricted Contacts,

 and helping an entity to compete with the Business of O’Sullivan by using or contacting the

 Restricted Contacts in violation of Paragraph 8 of the Agreement.

        35.     On January 13, 2017, O’Sullivan sent letters to Neaves and Uniroyal explaining

 its position that Neaves’ employment with direct competitor Uniroyal will by necessity violate

 the terms of Neaves’ Agreement with O’Sullivan and demanding assurances that Neaves is

 employed in some fashion that does not violate the Agreement.

        36.     To date, Uniroyal has failed to respond to the letter, and Neaves through counsel

 insists the Agreement’s restrictive covenants are unenforceable. Neaves’ counsel did not dispute

 the applicability of the Agreement to Neaves’ employment with Uniroyal.

        37.     Should Neaves be permitted to violate the terms of the Agreement, O’Sullivan’s

 business shall be grievously harmed.

        38.     An actual and justiciable controversy exists regarding whether Neaves’

 employment with Uniroyal violates the Agreement and whether the Agreement’s restrictive

 covenant is enforceable.

                            COUNT I – DECLARATORY JUDGMENT

        39.     O’Sullivan incorporates by reference the allegations set forth in the preceding

 paragraphs as if fully set forth herein.

        40.     A judicial determination and declaration is necessary to declare whether Neaves’

 work as Director of Research and Development for Uniroyal is a violation of the Agreement and

 whether the Agreement’s restrictive covenant is enforceable.




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        41.     Specifically, a judicial determination and declaration is necessary to declare

 whether in fact the Agreement prohibits Neaves from working for Uniroyal because his

 employment necessarily comprises those activities prohibited by the Agreement namely to “sell,

 attempt to sell, or assist others in selling or providing products or services in competition with

 the Business of O’Sullivan at the Restricted Contacts; or …. help, financially or otherwise, any

 person or entity to compete with the Business of O’Sullivan by using or contacting the Restricted

 Contacts.”

        42.     Declaratory relief will clarify the rights and obligations of the parties and is,

 therefore, appropriate to resolve this controversy.

        43.     The Federal Declaratory Judgment Act permits this Court to award other relief as

 necessary after declaring the parties’ rights. Pursuant to the Agreement, O’Sullivan is entitled to

 injunctive relief should this Court declare that Neaves’ employment is prohibited by the

 Agreement. Accordingly, this Court should declare that the Agreement is enforceable, and if the

 Court finds that Neaves’ employment with Uniroyal violates the terms of the Agreement, then

 the Court should enter an order enjoining Neaves from being employed by Uniroyal in violation

 of the Agreement.

        44.     Neaves’ use of O’Sullivan’s Confidential Information in violation of the

 Agreement to allow a direct competitor to compete directly with the Restricted Contacts will

 result in harm that is impossible to measure at this time, making injunctive relief appropriate.

                             COUNT II –BREACH OF CONTRACT

        45.     O’Sullivan incorporates by reference the allegations set forth in the preceding

 paragraphs as if fully set forth herein.




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          46.       Through his employment with Uniroyal, Neaves engages in the development,

  marketing and sale of plastic engineered films for use in the automotive industry to clients with

  whom Neaves had direct contact while employed by O’Sullivan.

          47.       Neaves therefore is in direct violation of Paragraph 8 of the Agreement because

  he is engaged in “ (a) sell[ing], attempt[ing] to sell, or assist[ing] others in selling or providing

  products or services in competition with the Business of O’Sullivan at the Restricted Contacts;”

  Ex. 1 ¶ 8.

          48.       Pursuant to Paragraph 10 of the Agreement, O’Sullivan seeks injunctive relief

  preventing Neaves from working for Uniroyal for a one-year period from the date of entry of a

  final Order in this case. Ex. 1 ¶ 10. In addition, Neaves conduct has proximately caused

  O’Sullivan damages in an amount that exceeds $75,000.

          49.       Pursuant to Paragraph 12 of this Agreement, O’Sullivan also seeks to recover its

  costs and fees to enforce its rights under this Agreement, anticipated to exceed $100,000. Ex. 1 ¶

  12.

                                         PRAYER FOR RELIEF

          WHEREFORE, O’Sullivan prays for judgment from this Court as follows:
          1.        A declaratory judgment under 28 U.S.C. § 2201 determining and declaring that

  Neaves’ employment with Uniroyal violates the terms of the Agreement and that the Agreement

  is enforceable;

          2.        An order barring Neaves from employment with Uniroyal for a one-year period

  from the date of this Court’s order.

          3.        An award to O’Sullivan of reasonable attorneys’ fees in bringing and maintaining

  this action.



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         4.      An award to O’Sullivan of any other relief that this Court deems just and

  appropriate.




         April 13, 2018                        Respectfully submitted,

                                               O’SULLIVAN FILMS, INC.


                                               By:    /s/ Joan C. McKenna
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on the 13th day of April, 2018, I electronically filed the foregoing with
  the Clerk of the Court using the CM/ECF system, which will then send a notification of such filing
  (NEF) to counsel of record in this matter.


                                                         /s/ Joan C. McKenna
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